Case 1:05-cv-01051-.]DT-STA Document 16 Filed 07/22/05 Page 1 of 3 Page|D 10

UNITED STATES DISTRICT COURT
WESTERN DISTR[CT OF TENNESSEE
EASTERN DIVISION

Judy Akers

109 Gibson Highway, 6B

Milan, Tennessee 38358

SSN: 411»35-0067
P]aintiff,

 

v. Civil Action No. 05-105 lT
Jo Anne B. Barnhart
Commissioner of
Social Security,

Defendant.

ORDER
Wherefore, for good cause shown and it appearing to the court that Plaintiff
requires extra time to prepare Plaintiff’s brief, and, because the United States Attorney
representing the government in this matter consents to the additional time requested,
It is, accordingly, ordered, adjudged, and decreed that P]aintiff is granted an

additional period of time, up to and including August 8, 2005, to tile Plaintiff’S brief in support

of her Complaint. % M

Distr` Court Judge

1/<}”£?)9`”5'F

This document entered on the docket sheet in compliance

with Hu¥e 58 and,'or_?g (a) FRCF on

\\0

Case 1:05-cv-01051-.]DT-STA Document 16 Filed 07/22/05 Page 2 of 3 Page|D 11

 

Jackson, rN 33303-3338
901-424-1305
TN BPR # 006600

Certiflcate of Service
I certify that I have mailed a true and exact copy fo the foregoing Proposed Order
to Joseph Dycus, Assistant United States Attorney, 800 Fede ah Offic Building, 167 North Main
Street, Memphis, TN 38103, this the 20th clay s ` uly, 2005. j /
M
‘"' ‘7

   
 

h

 

-VV

ESTNER Dl

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 1:05-CV-01051 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

ESSEE

 

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Roger Stanfleld

LAW OFFICE OF ROGER STANFIELD
P.O. Box 3338

Jackson, TN 38303--333

Honorable J ames Todd
US DISTRICT COURT

